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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


VOTEAMERICA, et al.,

                Plaintiffs,

                  v.

BRAD RAFFENSPERGER, in his                  Civil Action No.:
official capacity as the Secretary of       1:21-CV-1390-JPB
State for the State of Georgia, et al.,

                Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                Intervenor-Defendants.


    NOTICE OF INTENT TO SERVE AMENDED SUBPOENA FOR
              DEPOSITION ON ALISA HAMILTON

      Please take notice that, pursuant to Federal Rule of Civil Procedure

45(a)(4), Defendants, by and through their undersigned counsel, intend to

serve the attached Amended Subpoena for Deposition (Exhibit A) upon Alisa

Hamilton on this day, or as soon thereafter as service may be effected.

      This 29th day of September, 2022.

                                          Respectfully submitted,

                                          Christopher M. Carr
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                       CERTIFICATE OF COMPLIANCE


      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing NOTICE OF INTENT TO SERVE AMENDED SUBPOENA FOR

DEPOSITION ON ALISA HAMILTON has been prepared in Century

Schoolbook 13, a font and type selection approved by the Court in L.R. 5.1(B).


                              /s/ Bryan P. Tyson
                              Bryan P. Tyson




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